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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    4:04CR00291-01 JLH

BOBBY GLENN BANKS

                                             ORDER

       Bobby Banks has filed a Motion to Modify Sentence Under 18 U.S.C. § 3582, based on the

retroactive application of the United States Sentencing Commission’s crack cocaine penalty guideline

reduction.

       At his original sentencing, Banks’s base offense level was 38 and his criminal history category

was III. With a 2-point enhancement for obstruction, a 4-point enhancement for being a leader, and

a 2-point enhancement for having a gun, Banks’s guideline range was life. He was sentenced to a

“non-guideline sentence”1 of 660 months in prison. Doc. No. 613. On September 21, 2009, Banks’s

request for a sentence reduction under Amendment 706 was denied because his guideline range did

not change. Doc. No. 812.

       Section 1B1.10(a)(2) of the guidelines states: “A reduction in the defendant’s term of

imprisonment is not consistent with this policy statement and therefore is not authorized under

18 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c) does not have the effect of

lowering the defendant’s applicable guideline range.” U.S. SENTENCING GUIDELINES MANUAL

§ 1B1.10(a)(2)(B) (2011).




       1
        Judge Howard stated, “I’m going to vary from the guideline range . . . . I’m going to impose
a non-guideline sentence.” Arguably, Banks would not be entitled to a sentence reduction because
he received a non-guideline sentence, but that issue need not be addressed here. Doc. No. 654.
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       Calculating Banks’s base offense level requires determining the amount of drugs for which

he is accountable. On direct appeal, the Court of Appeals for the Eighth Circuit noted that:

       At sentencing, the government summarized the testimony of various witnesses as it
       pertained to drug quantity, concluding that if the amounts to which the witnesses
       testified were added together, the total quantity would be about 2.8 kilograms of
       cocaine base – well above the 1.5 kilograms that the government sought to attribute
       to Banks.

United States v. Banks, 494 F.3d 681, 687 (8th Cir. 2007). At the time of Banks’s sentencing,

1.5 kilograms or more of crack resulted in a base offense level of 38, the highest under the Drug

Quantity Table, so the “total quantity [of] about 2.8 kilograms” did not need to be exact because it

was more than 1.5 kilograms. However, under the latest Guidelines, 840 grams to 2.8 kilograms of

crack results in a base offense level of 34, and at least 2.8 KG but less than 8.4 KG of crack results

in a base offense level of 36. U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c).

       The evidence at trial demonstrated that Banks was responsible for more than 2.8 kilograms

of crack but less than 8.4 kilograms.2 Accordingly, Banks’s base offense level is a 36, and with the

enhancements, his total offense level is 44. With a total offense level of 44 and a criminal history

category III, Banks’s guideline range remains life. Because Banks’s guideline range did not change

as a result of Amendment 750, he is not entitled to a sentence reduction.

       Banks’s Motion to Modify Sentence Under 18 U.S.C. § 3582 is DENIED. Doc. No. 966.

       IT IS SO ORDERED this 4th day of April, 2012.


                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE



       2
        The conclusion that Banks is responsible for more than 2.8 kilograms of crack is based on
adding the amounts of crack cocaine that various witnesses testified was involved in transactions with
Banks. It does not consider the powder cocaine attributed to Banks.

                                                  2
